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                                                                        Memorandum

  Subject                                           Date
  UNSEALING                                         November 16, 2021


  MAYRA RENDON, SAMANTHA
  CAWYER
  COLLEEN WIAND, EMIDIO BECERRA
  A/K/A “SPORTY,” OSCAR ULISES
  QUIROZ AYON,
  DARBELIO LORENZO-GENCHI, IRIS
  GALLARDO-SALADO,
  GIOVANA CISNEROS, AND LORENZO
  GONZALEZ-PEREZ A/K/A “SOLO,”

  8:21CR284



  To                                                From
  Clerk, U.S. District Court                        Crystal C. Correa
  District Of Nebraska                              AUSA


       Be advised that the above named Defendants are now in custody. We request you now

unseal as follows, pursuant to Fed. R. Crim. P. 6(e)(4):

☒      Unseal the Indictment and any underlying Magistrate Case

☐      Unseal the Magistrate Case

☐      Unseal the Indictment but the underlying Complaint and Affidavit should remain

       Restricted

☐      Unseal the Magistrate Case but the underlying Complaint and Affidavit should remain

       Restricted
